Case 1:21-cv-00285-LJV-MJR Document1 Filed 02/22/21 AC of 6

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

Terry Angel,

Plaintiff, Pro Se -CV-

C.O. Gruka, Sr.

Defendant, 2 L C V 28 5

PLEASE TAKE NOTICE, the undersigned will bring
a motion for an order granting relief for excessive force, and
compel the defendant to make whole your complainant Pursuant to
Title 28 USC § 1983civil rights action; Pursuant to the United
States Constitution §§ 8th and 5th Amend., and Tort Law.
The defendant works at Collins Gorrectional Facility, he is
employed as a corrections officer.

1. This claim is properly raised before this court because genral
jurisdiction authorizes this court to decide this claim on the
merits.

2. The Western District of New York is the proper venue because
the subject matter is based in Constitutional Law

3. Your petitioner is asking the court to order the defendant to

pay damages in the amount of $ 250,000.00..::.:°

Respecfully submited
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Rate: 2-18-21

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UNITED STATES DISTRICT. COURT
WESTERN DISTRICT OF NEW YORK

erry Angel,

Plaintife, Pro Se - =CV-
. AFFIDIVIT IN
I - . SUPPORT OF .
| MOTION PURSUANT
TO TITLE 28 USC
$4983

Vi.

Cc0. Gruka, Sr..

Defendant,

I, Terry Angel deposes and says, I am a(n) inmate in-
carcerated at Collins Correctional Facility, P.O. Box 340 Collins,

N.Y. 14034-0340. C.0. Gruka,;Sr. ‘whom works at Collins Correctional
fctnty as a Corrections officer.
. On or about 11-25-20, at be about 3:45pm I was in the process

| .
If moving-to. another dorm. Sargent Black, not a party to this suit,
. . . ~ . | .

same to my cel at approximately 2:45pm to discuss a situation invol-
ing another inmate. He determined, I would be moving to Dorm C. |
2. We talked in his office, when I return, to gather my belongings

I learned they were already ‘packed into (2) draft ‘bags, in my absence:
rm was not issued a misbehavior report before:.staff pack the bags.

I was concerned’ about leaving the area without checking my bags -

3. I asked C. 0. #1, not a party in this action, known to be fair and
understanding, if I could make sure my medication and: trimmers were
in. the bag(s), he did not reply, so I dumped a bag. T was told toj::i.
&top. |
|

‘+. C.O. Gruka Sr. came into view as I. was about to dump the second
a) - | . . . .
pas- he said, "Son't do that, don't do that." I was intent on finding

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Case 1:21-cv-00285-LJV-MJR Document1 Filed 02/22/21 Page 3 of 6

my (Med}s) as my sugar level was low, due in part to the problem
earlier with inmate Elliott. I am elderly, DOB: 3-23-68 and under
Doctor' care. I suffer with upper respiratory problems.
5. As C.0O. Gruka Sr. was yelling at me, I dumped the bag, at that
point (Gruka) swung at, striking me in the face which caused a.‘a>
laseration close to my right eye.
6. I was then grabbed by my arm and thrown to the floor by. (Gruka)
and #3, not a party in this action.
7. while I was pinned to the floor by (2) or more C.0O.'s including
(Gruka), the defendant wrapped his arm around my neck and mercilessly
crunched me mutipal times in the face with a closed fist.
8. I was handcuffed and escorted to the infirmary, there I was
treated for the cut inflicked to my face. My face felt swollen and
my head hurt pretty bad. I experienced substantial pain from my
injuries.
9. I was eventually taken to the "BOX" where I spent the next (40)
days for disobeying a direct order. I did not protest the disposition
following a tier hearing because I felt helpless and overcome with
fear and undue influence by the H.O.
WHEREFORE I PRAY, for the relief sought in this petition
or such and other remedy the court deems just and proper.
|
Respectfully~ Submitted,

(222U Anaol
SWORN TO BEFORE ME THIS Terry/Angel ©
en DAY OF y2021 DIN: 18R2392

Date: )-($~2 (

NOTARY PUBLIC

Case 1:21-cv-00285-LJV-MJR. Document1 Filed 02/22/21. _- Page 4 of 6

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ji fb ot
/- eo mN ABSENCE OF NOTARY |
IN THE MATTER OF: Terry Angel Pose Ve C20. Gruka Sr.
ATS. Claim No.3 New Claim
STATE OF NEW YORK )
»)S.8.
COUNTY OF ERIE )
_ L_Terry Angel a _# 18R2392 , the declarant _, Pro- Se, in the above

siated matter, hereby declare under petuliy of perjury, pursuant to.28 Uz S. C. §. 1746; and People. V. Sul ra,

56 N.Y.2d 378; 452 N.Y.S.24 3 373. (1982); and N-Y'S. P.L.. §§ 210,40 and 210. AS that:
|

|

| - I understand that false statements made i in the foregoing document(s)

are punishable as'a Class A Misdemeanor, pursuant to 28 U.S.C.

_ §-1746 of the United States Code Annotated, and N.Y.S. P-L. §§ 210. A0

~ 210. 45.1 further declare that the statements made in the foregoing

documents submitted in the above stated ‘proceeding, are true and

correct to the best of my knowledge, upon: information and belief, and
0 that I believe them to be true-and correct under penalty of perjury. .

Dated: FEBRUARY _, 2021

Collins, New. York

—Ty, Y Tr ; f MA Ce Pro Se

ome f Declarant

| Terry wigel. | #18R2392 8
- ‘Collins Corr. Facility 3 7
-. ‘P.O. Box 340

Collins, NY. 14034-0340

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RO.Box 3¢0

Collins, NY. 14034-0340

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JS 44 (Rev. 08/18)

Case 1:21-cv-00285-LJV-Md COE tek? oepeet Peet

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ead?

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
. «provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
»urpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS
le Oo C\ Ae =“) Co
lerCy Angel troSe |
(b) County of Residence of First Listed Plaintiff E r 4 ec

DEFENDANTS

County of Residence of First Listed Defendant TLE

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) ~Atterneys (Firm Name, Address, and Telephone Number)

Pro Se DIN! ISRABTA

(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

NOTE:

Attorneys (/fKnown) \J\\ K NOOO /)

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)

(For Diversity Cases Only)

Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff

and One Box for Defendant)

1 448 Education 555 Prison Condition

O 1° US. Government 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State qi © 1 Incorporated or Principal Place o4 04
of Business In This State
O 2 US. Government O 4 Diversity Citizen of Another State O 2 © 2 Incorporated and Principal Place go5 a5
Defendant (Indicate Citizenship of Parties in Item ITI) of Business In Another State
Citizen or Subject of a a3 O 3. Foreign Nation O86 O86
Foreign Country
IV. NATURE OF SUIT (Place an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
| CONTRACT TORTS FORFEITURE/PENALTY. BANKRUPTCY OTHER STATUTES ]
© 110 Insurance PERSONAL INJURY PERSONAL INJURY {0 625 Drug Related Seizure C1 422 Appeal 28 USC 158 0 375 False Claims Act
© 120 Marine © 310 Airplane © 365 Personal Injury - of Property 21 USC 881 | 423 Withdrawal O 376 Qui Tam (31 USC
© 130 Miller Act © 315 Airplane Product Product Liability 690 Other 28 USC 157 3729(a))
© 140 Negotiable Instrument Liability 1 367 Health Care/ 1 400 State Reapportionment
O 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS 0 410 Antitrust
& Enforcement of Judgment Slander Personal Injury O 820 Copyrights © 430 Banks and Banking
© 151 Medicare Act © 330 Federal Employers’ Product Liability O 830 Patent G 450 Commerce
1 152 Recovery of Defaulted Liability © 368 Asbestos Personal 1 835 Patent - Abbreviated O 460 Deportation
Student Loans 1 340 Marine Injury Product New Drug Application | 470 Racketeer Influenced and
(Excludes Veterans) 1 345 Marine Product Liability O 840 Trademark Corrupt Organizations
1 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR SOCIAL SECURITY O 480 Consumer Credit
of Veteran’s Benefits O 350 Motor Vehicle O 370 Other Fraud © 710 Fair Labor Standards O 861 HIA (1395ff) O 485 Telephone Consumer
© 160 Stockholders’ Suits © 355 Motor Vehicle © 371 Truth in Lending Act O 862 Black Lung (923) Protection Act
© 190 Other Contract Product Liability O 380 Other Personal 0 720 Labor/Management O 863 DIWC/DIWW (405(g)) |0 490 Cable/Sat TV
G 195 Contract Product Liability a 360 Other Personal Property Damage Relations C1 864 SSID Title XVI 1 850 Securities/Commodities/
O 196 Franchise Injury 1 385 Property Damage © 740 Railway Labor Act OC 865 RSI (405(g)) Exchange
© 362 Personal Injury - Product Liability © 751 Family and Medical 1 890 Other Statutory Actions
Medical Malpractice Leave Act C891 Agricultural Acts
| REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS _|1 790 Other Labor Litigation FEDERAL TAX SUITS O 893 Environmental Matters
© 210 Land Condemnation 1 440 Other Civil Rights Habeas Corpus: 1 791 Employee Retirement 870 Taxes (U.S. Plaintiff 1 895 Freedom of Information
© 220 Foreclosure O 441 Voting 463 Alien Detainee Income Security Act or Defendant) Act
O 230 Rent Lease & Ejectment O 442 Employment © 510 Motions to Vacate © 871 IRS—Third Party 1 896 Arbitration
240 Torts to Land 1 443 Housing/ Sentence 26 USC 7609 O 899 Administrative Procedure
1 245 Tort Product Liability Accommodations O 530 General Act/Review or Appeal of
© 290 All Other Real Property O 445 Amer. w/Disabilities -] 535 Death Penalty IMMIGRATION Agency Decision
Employment Other: ©) 462 Naturalization Application 1 950 Constitutionality of
© 446 Amer. w/Disabilities -] J 540 Mandamus & Other |0 465 Other Immigration State Statutes
Other 1 550 Civil Rights Actions
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560 Civil Detainee -
Conditions of
Confinement

V. ORIGIN (Place an “X” in One Box Only)

mi Original 12 Removed from
Proceeding State Court

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Appellate Court

Reinstated or © 5 Transferred from © 6 Multidistrict
Reopened Another District Litigation -
(specify) Transfer

O 8 Multidistrict
Litigation -
Direct File

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity): CJ os
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VI. CAUSE OF ACTION

Brief description of cause:

T W648 Poached ip the face muti tines by Cort. Ofc,

VII. REQUESTED IN (CHECK IF THIS IS A CLASS ACTION

DEMAND $

CHECK YES only if demanded in complaint:

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ASO, (CO QOGorvy vemann:

COMPLAINT: UNDER RULE 23, F.R.Cv.P. CyYes XNo
VII. RELATED CASE(S)
IF ANY (Seemsimctions): GE DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD _
“(Orn Anal Pee Se. DIN IKiR2392.
FOR OFFICE USE ONLY 7 a
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

